 

 

Case 1:21-cv-21940-BB Document 1-1 Entered on FLSD Docket 05/25/2021 Page 1 of 9

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IN THE CIRCUIT COURT OF THE
1174 JUDICIAL CIRCUIT IN AND
FOR MIAMI-DADE :COUNTY, FLORIDA

 

NEIMA BENAVIDES, Personal CASE NO.: 21-009716-CA-01
Representative of the Estate of
NAJBEL BENAVIDE LEON, deceased, CIVIL ACTION SUMMONS
Gohl ASF
Plaintiff, .
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[Sam

TESLA, INC., a/k/a TESLA FLORIDA,
INC.,

_.____ Defendant. /
To Each Sheriff of Said State:

YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint
or petition in this action on Defendant: TESLA, INC., a/k/a TESLA FLORIDA, INC..:

By Serving Registered Agent: CT CORPORATION
1200 S. PINE ISLAND ROAD
PLANTATION, FL 33324

Each Defendant is required to serve written defenses to the complaint or petition on Plaintiff's
attorney to wit:

TODD POSES, ESQUIRE, Poses & Poses, P.A., Suite 1600
169 East Flagler Street, Miami, Florida 33131; (305) 577-0200

within 20 days after service of this summons on that Defendant, exclusive of the day of service and

to file the original if the defenses with the Clerk of the Court either before service on Plaintiff's g
attomey or immediately thereafter. Ifa Defendant fails to do so, a default will be entered against that
Defendant for the relief demanded in the complaint or petition.

DATED ON 77620219991

Clerk of Said Court

By

EXHIBIT

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IN THE CIRCUIT COURT OF THE
11" JUDICIAL CIRCUIT IN AND
FOR MIAMI-DADE COUNTY, FLORIDA

NEIMA BENAVIDES, Personal CASE NO.:
Representative of the Estate of
NAIBEL BENAVIDES LEON, deceased, COMPLAINT FOR DAMAGES AND

 

DEMAND FOR JURY TRIAL

 

Plaintiff,
VS.

TESLA, INC. a/k/a TESLA FLORIDA, INC.

Defendant. __/

COMES NOW the Plaintiff, NEIMA BENAVIDES, Personal Representative of the Estate of
NAIBEL BENAVIDES LEON, deceased, by and through the undersigned counsel, and sues the
Defendant, TESLA, INC. a/k/a TESLA FLORIDA, INC., and alleges the following:

Ls This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00)
exclusive of interest and costs, brought pursuant to the Florida Wrongful Death Act, Florida Statute
§768.16 et seq.

JURISDICTION, VENUE AND PARTIES

2: At all times material hereto, Neima Benavides, is the duly appointed personal
representative of the ESTATE OF NAIBEL BENAVIDES LEON, probate documents attached
hereto and marked as Exhibit A. As personal representative of the Estate, the Plaintiff, NEIMA
BENAVIDES, has standing to and otherwise is duty bound to bring this wrongful death action
pursuant to Florida Statute §768.16 et seq.

3, At the time of the death of NAIBEL BENAVIDES LEON was 22 years old and was
not married and had no children.

4. NAIBEL BENAVIDES LEON is survived by her natural parents, Lilia Marilin Leon
Jimenez and Guillermo Benavides, who are survivors under the Florida Wrongful Death Act.

5. Lilia Marilin Leon Jimenez is a resident of Miami Dade County.

6. At all times material to this action, the Defendant, TESLA, INC. a/k/a TESLA
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FLORIDA, INC. (hereinafter referred to as “TESLA”), was a foreign corporation licensed and

authorized to do business in the State of Florida.

7. At all times hereinafter mentioned and at the time of the incident complained of, the
Defendant, TESLA, had an office for the transaction of its customary business in Miami-Dade County,
Florida, had agents and other representatives in Miami-Dade County, Florida, and was actually doing
business in Miami-Dade County, Florida by virtue of its shipping to and sale of automobiles in Miami-
Dade County, Florida.

8. At all times hereinafter mentioned and at the time of the incident complained of, the
Defendant, TESLA, was in the business of designing, testing, inspecting, manufacturing, distributing,
selling, maintaining, repairing and otherwise placing into the stream of commerce, and causing same
to come into the State of Florida, certain automobiles, including a certain specific automobile
designated and described as a 2019 Tesla Model S, VIN: SYJSA1E24KF302997 (Hereinafter
described as the ‘““Vehicle”),

FACTS GIVING RISE TO CAUSE OF ACTION

9, On or about April 25, 2019, the Vehicle was owned by George McGee.

10. On or about April 25, 2019, George McGee was operating and/or driving the Vehicle
eastbound on CR-905A in Key Largo, Monroe County, Florida.

11. At that time and place, George McGee, had activated the autopilot function in his
Tesla and was relying on its ability to detect obstacles in the roadway ahead of the Vehicle and
reduce speed and/or come to a complete stop when such obstacles were detected.

12. Because he was relying on the Vehicle's auto pilot system, George McGee took his
eyes of the road to look at his phone.

13, George McGee failed to notice he was approaching the T-intersection at CR-905A.

14. Parked on the other side of the T-Intersection was the Chevrolet Tahoe owned by
Dawn Angulo, and driven by her son, Dillon Angulo. NAIBEL BENAVIDES LEON and Dillon

Angulo were standing next to the truck.
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15. The auto-pilot of George McGce’s Vehicle failed to detect the substantial profile of
Chevrolet Tahoe at any point, despite the fact that it was parked directly in front of the Vehicle’s
path.

Le. As a result, the Vehicle continued eastbound through the intersection without
initiating the brakes and the Vehicle struck the Tahoe at almost 70 miles per hour, causing it to
violently rotate and strike the decedent, NAIBEL BENAVIDES LEON, sending her approximately
75 feet into the surrounding wooded area, taking her life as a result.

COUNT I
STRICT LIABILITY

The Plaintiff, Neima Benavides, as Personal Representative of the Estate of NAIBEL
BENAVIDES LEON, Deceased, realleges each and every allegation contained in paragraphs | through
16, and, by reference, further states:

17. At all times mentioned herein, Tesla was engaged in the business of manufacturing,
fabricating, designing, assembling, distributing, selling, inspecting, warranting, leasing, renting,
retailing, and advertising vehicles, including the Vehicle with Tesla's Autopilot systems suite.

18. Tesla's vehicles, including the Vehicle, contained design defects when the vehicles
were introduced into the stream of commerce by Tesla.

19. Tesla's vehicles, including the Vehicle, were defective and unsafe for their intended
use. Due to the design defects, the Vehicle failed to perform as safely as an ordinary consumer would
expect when used in an intended or reasonably foreseeable manner.

20. On April 25, 2019, George McGee was driving the Vehicle in a reasonably
foreseeable and intended manner, with Tesla's autopilot systems suite engaged, when the Vehicle
failed to detect the substantial profile of Chevrolet Tahoe parked directly in front of the Vehicle’s
path, and the Vehicle struck the Tahoe, killing NAIBEL BENAVIDES LEON in the resulting
collision.

21. Tesla knew that consumers would use and drive their vehicles as the driver did on
April 25, 2019.

22: Tesla manufactured, designed, assembled, tested, inspected, marketed, distributed,

and sold their vehicles, including the Vehicle, and their component parts including Tesla's Autopilot
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system and suite of driver assistance features technology with defects in design which made them
dangerous, hazardous, and unsafe for their intended and reasonably foreseeable use.

23. The design defects in the Vehicle and Tesla's Autopilot system suite of technology
included defective and unsafe characteristics such as the failure to adequately monitor and determine
driver-engagement, which resulted in the death of Decedent NAIBEL BENAVIDES LEON. The
Vehicle’s performance in this incident revealed a fatal defect and flaw in Tesla's Autopilot design,
specifically regarding the method in which the system monitors driver engagement.

24, The design defects in Tesla's Model X vehicle also includes additional defective and
unsafe characteristics, such as the failure to adequately determine stationary objects in front of the
vehicle, which resulted in the death of Decedent NAIBEL BENAVIDES LEON when the Vehicle
was unable to recognize the side profile of a Chevrolet Tahoe parked directly in front of the
Vehicle’s path. Tesla's Autopilot suite of driver assistance features, specifically its forward obstacle
detection and computer processing and camera visioning system failed to detect a side profile of a
Chevrolet Tahoe parked directly in front of the Vehicle’s path.

25. Tesla failed to meet the expectations of the reasonable consumer by placing on the
market a Tesla Model X vehicle which failed to incorporate an autopilot system that included safety
components which would keep the vehicle only in designated travel lanes, reasonably match vehicle
speed to traffic conditions, keep the vehicle within its lane, and provide active automatic collision
avoidance and automatic emergency braking in a manner which detected objects the car might
impact and applied the brakes so as to avoid impact with such objects.

26. Subsequent to the incident which killed the Decedent, Tesla equipped subsequent
Tesla Model S with additional technology programs and systems and safety components and
passenger protection components that did, in fact, provide active automatic collision avoidance and
automatic emergency braking in order to detect objects the car might impact, and apply the brakes
accordingly to avoid impact with such objects. The inclusion of these features on the Tesla Model S
after NAIBEL BENAVIDES LEON’s death, had they been installed on the accident vehicle, would
have entirely avoided and prevented the fatal injuries sustained by her.

27. By reason of the omission of the above described safety systems, features and
components from the Vehicle, on and prior to the date of Decedent's injuries and death, the Tesla

Model S was defective in its design, in that the auto pilot systems of the vehicle would not, could
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not, and did not perform in a manner as safely as an ordinary consumer would expect when the
vehicle was subjected to foreseeable accident or driving conditions. Further, the Tesla Model S, as
designed, caused fatal injury to NAIBEL BENAVIDES LEON when the vehicle failed to perform as
it should have.

28.  Therisk of danger in the design of Tesla's Model S vehicle outweighed any benefits
of the design, and especially where safer alternative designs were available at the time of
manufacture. Such reasonably safer alternative designs include, but are not limited to, the following:

a. Driver-facing cameras that would monitor the driver's eyes and/or head position as a way
to determine driver engagement and awareness;

b. LIDAR, or any other reasonable alternative system that may or may not include the use of
radar technology for the detection of obstacles and surroundings of a Tesla vehicle; and

C, Recoding of Tesla's proprietary software for its Autopilot technology and suite of driver
assistance features, specifically, the Traffic Aware Cruise Control feature.

29, Therefore, the Vehicle, and all of Tesla's vehicles that are equipped with Tesla's
Autopilot system suite of technology presented and continue to present a substantial and
unreasonable risk of serious injuries to drivers of Tesla vehicles and the public.

30. The defects in the design of all Tesla vehicles equipped with Tesla's Autopilot system
was a substantial factor in causes Decedent NAIBEL BENAVIDES LEON’s death, as well as
Plaintiff's damages as alleged herein.

31, As a direct and proximate cause of the defects in the Vehicle, the ESTATE OF
NAIBEL BENAVIDES LEON, deceased, suffered damages more specifically set forth below.

WHEREFORE, the Plaintiff, Plaintiff, Neima Benavides, as Personal Representative of the
Estate of NAIBEL BENAVIDES LEON, Deceased, demands judgment against the Defendant,
TESLA, INC. a/k/a TESLA FLORIDA, INC., for compensatory damages together with post-

Judgment interest and taxable costs incurred in this action.

COUNT I
STRICT LIABILITY (FAILURE TO WARN)

The Plaintiff, Netma Benavides, as Personal Representative of the Estate of NAIBEL
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BENAVIDES LEON, Deceased, realleges each and every allegation contained in paragraphs | through
16, and, by reference, further states:

32. Atall times mentioned herein, Tesla was engaged in the business of manufacturing,
fabricating, designing, assembling, distributing, selling, inspecting, warranting, leasing, renting,
retailing, and advertising their vehicles, including the Tesla Model X vehicle, with Tesla's autopilot
system technology suite.

33. On April 25, 2019, George McGee was driving the Vehicle in a reasonably
foreseeable and intended manner, with Tesla's autopilot systems suite engaged, when the Vehicle
failed to detect the substantial profile of Chevrolet Tahoe parked directly in front of the Vehicle’s
path, and the Vehicle struck the Tahoe, killing NAIBEL BENAVIDES LEON in the resulting
collision.

34. Tesla knew that consumers would use and drive their vehicles as the driver did on
Aptil 25, 2019,

35. An ordinary consumer would not have recognized the potential risks and dangers
inherent in the operation and use of a Tesla vehicle with autopilot engaged, including the fact that a
Tesla vehicle would be unable to recognize the Profile of a Chevrolet Tahoe parked directly in front

of its path.

36. Tesla failed to warn of the dangers in the reasonably foreseeable use of its vehicles.
37. Asa direct and proximate cause of Tesla’s failure to warn of the defects and dangers
of its Autopilot technology and suite of driver assistance features, the ESTATE OF NAIBEL

BENAVIDES LEON, deceased, suffered damages more specifically set forth below.

WHEREFORE, the Plaintiff, Plaintiff, Neima Benavides, as Personal Representative of the
Estate of NAIBEL BENAVIDES LEON, Deceased, demands judgment against the Defendant,
TESLA, INC. a/k/a TESLA FLORIDA, INC., for compensatory damages together with post-
judgment interest and taxable costs incurred in this action.
WRONGFUL DEATH DAMAGES

38. The Estate of NAIBEL BENAVIDES LEON has suffered and will suffer the
following damages:

a. Lost wages, benefits and other earnings, including the value of lost earnings
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that the decedent, NAIBEL BENAVIDES LEON, could reasonably have been
expected to earn had she lived a full life.

Loss of “prospective net accumulations” of the Estate of NAIBEL
BENAVIDES LEON, or the value of earnings the Estate of NAIBEL
BENAVIDES LEON, could reasonably have been expected to collect had the
decedent, NAIBEL BENAVIDES LEON, lived a full life.

Medical and funeral expenses paid by the Estate of NAIBEL BENAVDES

LEON.

38. Liha Marilin Leon Jimenez, surviving natural mother and legal beneficiary under the

Florida Wrongful Death Act, has in the past and will continue to suffer in the future the following

damages, per the Florida Wrongful Death Act, Florida Statute §768.16:

a. The loss of support and services NAIBEL BENAVIDES LEON had provided
to her mother, Lilia Marilin Leon Jimenez.
b. The loss of companionship, guidance and protection provided by the
decedent, NAIBEL BENAVIDES LEON to her mother, Lilia Marilin Leon
Jimenez.
39, Guillermo Benavides, surviving natural father and legal beneficiary under the Florida

Wrongful Death Act, has in the past and will continue to suffer in the future the following damages,

per the Florida Wrongful Death Act, Florida Statute §768.16:

The loss of support and services NAIBEL BENAVIDES LEON had provided
to her father, Guillermo Benavides.

The loss of companionship, guidance and protection provided by the
decedent, NAIBEL BENAVIDES LEON to her father, Guillermo Benavides.
Mental and emotional pain and suffering due to the loss of the decedent,
NAIBEL BENAVIDES LEON.

Medical and funeral expenses paid for or owed by Guillermo Benavides as a
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result of the death of his daughter, NAIBEL BENAVIDES LEON.

WHEREFORE, the Plaintiff, NEIMA BENAVIDES, as Personal Representative of the Estate
of NAIBEL BENAVIDES LEON, demands judgement and damages against the Defendant, TESLA,
INC, a/k/a TESLA FLORIDA, INC, costs and interest allowed by the law, and further demands a
trial by jury of all issues so triable as a matter of right thereby.

DATED this 22nd day of April, 2021.

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/s/Todd Poses
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